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                               United States District Court
                                      EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION


      CRAIG CUNNINGHAM                               §
                                                     §
      v.                                             §   CIVIL ACTION NO. 4:17cv839
                                                     §   Judge Mazzant
.     AMBER FLORIO, ET AL.                           §

                                          TRANSFER ORDER

             It is hereby ORDERED that the above-named civil action is transferred to the Honorable

      Richard A. Schell, effective immediately.

            SIGNED this 22nd day of February, 2019.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
